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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


THE NEW GEORGIA PROJECT,
BLACK VOTERS MATTER FUND, and
RISE, INC.,

                    Plaintiffs,
      v.
                                               Civil Action No. 1-21-CV-1229
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State
and the Chair of the Georgia State Election
Board; REBECCA SULLIVAN, in her
official capacity as the Vice Chair of the
Georgia State Election Board; DAVID
WORLEY, in his official capacity as a
member of the Georgia State Election
Board; MATTHEW MASHBURN, in his
official capacity as a member of the
Georgia State Election Board; and ANH
LE, in her official capacity as a member of
the Georgia State Election Board,
                    Defendants.


               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT

      Plaintiffs The New Georgia Project, Black Voters Matter Fund, and Rise, Inc.,

hereby submit the following statement of their corporate interests pursuant to Rule

7.1 of the Federal Rules of Civil Procedure and Local Rule 3.3.
         Case 1:21-cv-01229-JPB Document 4 Filed 03/26/21 Page 2 of 6




      (1)      The undersigned Counsel of Record for Plaintiffs certifies that the

following is a full and complete list of all parties to this action, including any

parent corporation and any publicly held corporation that owns 10% or more

of the stock of a party:

      • The New Georgia Project (Plaintiff), which has no parent corporation, nor

            does a publicly-held company own any interest in it;

      • Black Voters Matter Fund (Plaintiff), which has no parent corporation, nor

            does a publicly-held company own any interest in it;

      • Rise, Inc. (Plaintiff), which has no parent corporation, nor does a publicly-

            held company own any interest in it;

      • Brad Raffensperger, in his official capacity (Defendant);

      • Rebecca Sullivan, in her official capacity (Defendant);

      • David Worley, in his official capacity (Defendant);

      • Matthew Mashburn, in his official capacity (Defendant); and

      • Anh Le, in her official capacity (Defendant).

      (2)      The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or

corporations having either a financial interest in or other interest which could

be substantially affected by the outcome of this particular case:


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     • None known.

     (3)      The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this

proceeding:

     Plaintiffs

     • Halsey G. Knapp, Jr. of Krevolin & Horst, LLC;

     • Joyce Gist Lewis of Krevolin & Horst, LLC;

     • Adam M. Sparks of Krevolin & Horst, LLC;

     • Marc E. Elias of Perkins Coie LLP;

     • Uzoma Nkwonta of Perkins Coie LLP;

     • Jacob Shelly of Perkins Coie LLP;

     • Zachary J. Newkirk of Perkins Coie LLP; and

     • Jyoti Jasrasaria of Perkins Coie LLP.

     Defendants

     • [Intentionally left blank]




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Respectfully submitted, this 26th day of March 2021.

                                 Adam M. Sparks
                                 Halsey G. Knapp, Jr.
                                 Georgia Bar No. 425320
                                 Joyce Gist Lewis
                                 Georgia Bar No. 296261
                                 Adam M. Sparks
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                                 1201 W. Peachtree St., NW
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                                 jjasrasaria@perkinscoie.com

                                 Counsel for Plaintiffs
                                *Motions for Pro Hac Vice Forthcoming


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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
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Board; MATTHEW MASHBURN, in his
official capacity as a member of the
Georgia State Election Board; and ANH
LE, in her official capacity as a member of
the Georgia State Election Board,
                    Defendants.

                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, using font type

of Times New Roman and a point size of 14.

Dated: March 26, 2021.                        Adam M. Sparks
                                              Counsel for Plaintiffs
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


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member of the Georgia State Election
Board; MATTHEW MASHBURN, in his
official capacity as a member of the
Georgia State Election Board; and ANH
LE, in her official capacity as a member of
the Georgia State Election Board,
                    Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on March 26, 2021, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.

Dated: March 26, 2021.                          Adam M. Sparks
                                                Counsel for Plaintiffs


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